 

Case 5:18-cr-00174-DNH Document 1 Filed 05/24/18 Pa __.bl§f§|&mum_m) 'OFNY]

AO 9| (Rcv. l l/l ll Crimina| Complaint

 

 

UNITED STATES DIsTRlCT CoURT MAY 2 4 2016

for the 7
Northern District ofNeW York AT-___. 0 Cl-UCK

_____
Lawrencel<. B.ie1111111 fla '=-rk Syracuse

 

 

   

UNITED STATES OF AMERICA
v.
NAHSHON T. NANCE Case No. 5:18-1\/11- (TWD)

.».? 5’<>"`

\_/\_/\-._d\_/\-._/\._/\._/\._/

Defendant(s)

CRIMINAL COMPLAINT

    
    

l, the complainant in this case, State that the following is true to the best of my knowledge and beliet`. On

or about the date(s) of l\/lay 22, 2018 in the county of Onondaga in the Northem District of New York the

defendant(s) violated:

Coa'e Secti`on Ojj”ense Desc)'i`ptl'on
18 USC § 922(g)(l) Possession ofa Firearm by a Convicted Felon

This criminal complaint is based on these facts:
See attached Affidavit in Support ofCriminal Complaint

E Continued on the attached sheet.
M '“t

Coinplm"nanf S signature
Richard Gardinier, Special Agent ATF

Pr/`n!ed name and t `le
Sworn to before me and signed in my presence
Date; 5/24/2013 %/ /M/M y l

Judge' s sigl§r£we

City and State: Syracuse, New Yoi'k Hon. Thérése Wiley Dancl<s, U.S. Magistrate .ludge

Pri'ntea' name and title

Case 5:18-cr-00174-DNH Document 1 Filed 05/24/18 Page 2 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA ) Criminal No. : 18-MJ- (TWD)
)
v. )
)
NAHSHON T. NANCE, )
)
)
Defendant. )
AFFIDAVIT

CITY OF SYRACUSE )
COUNTY OF ONONDAGA ):ss
STATE OF NEW YORK )

Affidavit in S\_lm;ort of a Crim_inal Complaint
Introduction

Richard Gardinier, being duly swom, do herby depose and say that:

l. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives
(ATF), having been employed as such since January of 2017. I make this affidavit in
support of a criminal complaint alleging that NASHON T. NANCE has committed a
violation of Title 18, United States Code, Section 922(g)(1) possession of a firearm
affecting interstate commerce by a convicted felon.

2. I have attended the Federal Law Enforcement Training Center (FLETC), located in
Glynco, Georgia, where in I was enrolled in, and successfully completed, both the
Criminal Investigator Training Program (CITP) and Special Agent Basic Training
(SABT). During the course of my training, I received instruction on physical

surveillance, interviewing sources of information and defendants, reviewing telephone

Case 5:18-cr-00174-DNH Document 1 Filed 05/24/18 Page 3 of 7

and financial records, applying for and serving search warrants, firearms trafficking, etc.

Prior to, I Was employed as a Police Officer with the United States Secret Service since

2012.

2. I am an investigative, or law enforcement officer of the United States Within the meaning
of Title 18, United States Code, Section 2510 (7), in that I am an officer of the United States who
is empowered by law to conduct investigations and make arrests for the offenses enumerated in

Title 18 and 26, United States Code,

3. This affidavit is intended to show only that there is sufficient probable cause for the
requested complaint and arrest Warrant and therefore does not set forth in an every fact of this

investigation

Investigation of Nashon T. NANCE

1. On May 23, 2018, your Affiant was contacted by the Syracuse Police Department
(“SPD”), in reference to a domestic dispute with a weapon involved, which ultimately led
to the arrest of Nahshon T. NANCE on May 21, 2018 in the City Syracuse for violations
of the New York State Penal Law. I have also reviewed records of this incident, which
include the reports of members of the Syracuse Police Department who were involved in
the investigation and arrest of Nashon T. NANCE on May 21 , 2018, as well as the
recovery of evidence. Additionally, I have spoken with members of the Onondaga
County District Attorney’s Office staff who are familiar with the facts of the case as well
as other ATF Special Agents who have done research on the interstate nexus of the

firearm allegedly possessed in violation of federal law by Nahshon T. NANCE.

Case 5:18-cr-00174-DNH Document 1 Filed 05/24/18 Page 4 of 7

. On or about May 21, 2018, at approximately 2332 hours, SPD Officer Thomas Miller,
badge number 0551, was dispatched to the area of 111 Smith Lane, apartment 25,

Syracuse, New York, for the report of a domestic incident with a weapon involved.

. Upon arrival, Officer Miller interviewed the victim of the incident, T.C., an adult female.
T.C. told SPD Officers that earlier, while inside her residence, an argument ensued
between herself and NANCE, during Which, NANCE displayed a silver pistol. Officer
Miller’s report reflects T.C. stated NANCE retrieved the firearm from his front

waistband, pointed it directly at her and stated “I’ll fucking shoot you bitch.”

. T.C. described NANCE, Whom She knows personally, as Wearing a black hooded
sweatshirt, bleached out shorts, black Jordari shoes, wearing a black “doo-rag” on his

head and holding a green back pack.

. Officer Miller’s report explained, while he was interviewing T.C., NANCE called her cell
phone, During the conversation, which Officer Miller overheard, NANCE alluded to

being near the vicinity of the incident and able to observe the SPD Officers and T.C.

. During the conversation With NANCE which Officer Miller and T.C. could both hear
what was being said via T.C.’s mobile phone, T.C. indicated NANCE may have entered

the building of 111 Smith Lane and may be in the hallway.

. As Officer Miller relayed information on NANCE’s possible whereabouts to other SPD
Officers, he observed a tall, slender, black male, wearing a black hooded jacket and a
“doo-rag” on his head peering out of the southern door of 111 Smith Lane. Officer

Miller believed this individual to be NANCE.

8.

10.

11.

12.

13.

Case 5:18-cr-00174-DNH Document 1 Filed 05/24/18 Page 5 of 7

Officer Miller, who was wearing a full SPD uniform, gave verbal commands to the
individual whom he believed to be NANCE, at which point NANCE began to flee east,

away from Officer Miller, down the hallway of the building.

Officer Miller entered the building, using the door-jam as cover, observed the same
NANCE running east with what appeared to be a silver handgun Officer Miller stated
that NANCE pointed the silver handgun in his direction. Officer Miller said the handgun
appeared to be genuine, with a silver barrel, black handgrip and what he described as a

large opening at the end of the barrel.

Officer Miller observed NANCE, while running from him, contact a partially opened
door, causing NANCE to drop both the silver handgun and a back pack to the ground.
NANCE continued to flee, exiting the north side rear entrance of 111 Smith Lane, where
he was taken into custody by SPD Officers Roger Carnby, badge 0357, and Officer Shane

Hilton, badge 1105.

Officer Miller indicated he remained with the silver handgun until SPD Officer Kelsey

Francemone, badge 0237, arrived to photograph and secure it.

Officer Francemone indicated she recovered what was described as a loaded Smith and
Wesson, model 625 revolver, caliber .45 Colt, bearing serial number CER5545,

containing six (6) rounds of .44 caliber Remington Magnum ammunition

Your Affiant conducted a Criminal History check for NANCE, which revealed at least
one felony conviction, as follows: on or about November 15, 2016, in Cayuga County

Court in the State of New York, NANCE was convicted Crirninal Possession of

14.

15.

Case 5:18-cr-00174-DNH Document 1 Filed 05/24/18 Page 6 of 7

Controlled Substance 3'cl Degree: Narcotic Drug with Intent to Sell, in violation of NY
Penal Law (“PL”) 220.16 sub(l). This is classified as a B Felony, a crime punishable by
more than a year in prison. On December 14, 2017, NANCE was conditionally released

to the New York Division of Parole, with a parole expiration date of December 14, 2018.

On May 23, 2018, Special Agent (SA) Louis Saffioti, ATF Syracuse Field Office, who
has been trained as an expert in determining the interstate nexus of firearms and
ammunition, reviewed the SPD reports involving the above-described investigation and
the silver handgun recovered. SA Saffioti consulted multiple reference databases and,
based on the description of the silver Smith and Wesson handgun, which includes its
manufacturer, serial number, and caliber, along with his training and experience,
rendered an opinion that this firearm was manufactured in Massachusetts and allegedly
possessed by Nahshon T. NANCE in Syracuse, New York, in the Northern District of

New York, and therefore traveled in and affected interstate commerce.

Based upon these facts, your Affiant believes there is probable cause to believe Nahshon
T. NANCE, a previously convicted felon, possessed a firearm, which traveled in or
affected interstate commerce, in violation of Title 18 U.S.C 922(g)(1)\. I request that the
Court authorize the filing of this criminal complaint and issue an arrest Warrant so that

Nahshon T. NANCE may be brought before this Court for further proceedings in

Case 5:18-cr-00174-DNH Document 1 Filed 05/24/18 Page 7 of 7

accordance with law.

Respectfully submitte ,
W{ t

nicin R. oardinier
Special Agent
ATF

Subscribed and sworn to before me
on M 24, 2018:

 

 

HQp/rhéresé wiley i)M,\us. Magisiraie 111ng

